122 F.3d 1160
    Peter L. HOCHSTEIN, Appellee/Cross-Appellant,v.Frank X. HOPKINS, Appellant/Cross-Appellee.
    Nos. 96-1309, 96-1427.
    United States Court of Appeals,Eighth Circuit.
    Sept. 23, 1997.
    
      Appeal from the United States District Court for the District of Nebraska.
      Before RICHARD S. ARNOLD, Chief Judge, and McMILLIAN and BEAM, Circuit Judges.
    
    
      1
      Prior Report:  113 F.3d 143.
    
    ORDER
    
      2
      This matter is before us on motions filed by the parties.  Upon careful consideration, we order the following.
    
    
      3
      Petitioner Peter L. Hochstein's motion to stay or recall the mandate is denied.
    
    
      4
      Upon review of the state's motion for modification of this court's order in Hochstein v. Hopkins, 113 F.3d 143, 148 (8th Cir.1997), we modify the first sentence of the final paragraph of the order to read as follows:
    
    
      5
      The order and judgment of the district court is modified to provide that petitioner's sentence will be reduced to life imprisonment, unless within one hundred and fifty (150) days of the date of our mandate in the present case, the Nebraska Supreme Court reweighs the aggravating and mitigating circumstances, conducts an independent harmless error review, or remands the case to the sentencing court for resentencing.
    
    
      6
      The state's motion for modification of our order is denied in all other respects.
    
    